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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF NEVADA

LARRY M. WHITTAKER,                  )               3:18-cv-00488-MMD-WGC
                                     )
                         Plaintiff,  )               MINUTES OF THE COURT
        vs.                          )
                                     )               October 19, 2020
STATE OF NEVADA, et al.,             )
                                     )
                         Defendants. )
____________________________________ )

PRESENT: THE HONORABLE WILLIAM G. COBB, U.S. MAGISTRATE JUDGE

DEPUTY CLERK:        KAREN WALKER           REPORTER:        NONE APPEARING

COUNSEL FOR PLAINTIFF(S): NONE APPEARING

COUNSEL FOR DEFENDANT(S): NONE APPEARING

MINUTE ORDER IN CHAMBERS:

       Before the court is Plaintiff’s “Motion to Compel Discovery” (ECF No. 70) . Defendants
have responded to Plaintiff’s motion stating that “the parties have reached this agreement which
resolve the issues raised in the Motion to Compel.” (ECF No. 75 at 2.)

       IT IS HEREBY ORDERED that Plaintiff’s Motion to Compel Discovery (ECF No. 70)
is DENIED as moot. The court commends Defendants’ counsel and Plaintiff for resolving their
discovery dispute via the meet and confer process.

       IT IS FURTHER ORDERED that the hearing scheduled on Tuesday, November 10,
2020, at 10:00 a.m. is VACATED.
                                  DEBRA K. KEMPI, CLERK

                                            By:        /s/______________________
                                                   Deputy Clerk
